Case 08-14631-GMB        Doc 248     Filed 04/30/08 Entered 04/30/08 15:29:18           Desc Main
                                    Document     Page 1 of 2




 UNITED STATES DEPARTMENT OF JUSTICE
 OFFICE OF THE UNITED STATES TRUSTEE
 KELLY BEAUDIN STAPLETON
 UNITED STATES TRUSTEE, REGION 3
 Donald F. MacMaster, Esq. (DM 0977)
 One Newark Center, Suite 2100
 Newark, NJ 07102
 Telephone: (973) 645-3014
 Fax: (973) 645-5993

                      UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW JERSEY
 ______________________________
                                :
 In re:                        :
                                :         Chapter 11
 SHAPES/ARCH HOLDINGS, L.L.C. :           Case No. 08-14631 (GMB)
 et al.,                        :
                                :
 Debtors.                       :         Hearing Date:
 ______________________________:

                                                      ORAL ARGUMENT REQUESTED

            NOTICE OF MOTION OF THE UNITED STATES TRUSTEE FOR
                AN ORDER DIRECTING THE APPOINTMENT OF A
               CHAPTER 11 TRUSTEE PURSUANT TO 11 U.S.C. § 1104

 TO: ALL PERSONS ON ATTACHED CERTIFICATE OF SERVICE

        PLEASE TAKE NOTICE that the United States Trustee will move before the

 Honorable Gloria M. Burns on May ____, 2008 at ____________ a.m., or as soon thereafter as

 counsel may be heard, at the United States Bankruptcy Court, 401 Market Street, Camden, NJ

 08101, for an Order Directing the Appointment of a Chapter 11 Trustee Pursuant to 11 U.S.C. §

 1104 and for such other and further relief as this Court deems just and appropriate.

        PLEASE TAKE FURTHER NOTICE that the United States Trustee will rely upon the

 Certification of Tina Oppelt and the Memorandum of Law attached hereto at the hearing.
Case 08-14631-GMB        Doc 248    Filed 04/30/08 Entered 04/30/08 15:29:18            Desc Main
                                   Document     Page 2 of 2




        PLEASE TAKE FURTHER NOTICE that any papers in opposition to the Motion must

 be filed with the Court and served upon the United States Trustee no later than May ___, 2008.

 If opposing papers are not filed and served within the required time, the Motion shall be deemed

 uncontested pursuant to District of New Jersey Local Bankruptcy Rule 9013-1(a) and an Order

 Directing The Appointing of a Chapter 11 Trustee, may be signed and entered in the Court's

 discretion.

        PLEASE TAKE FURTHER NOTICE that pursuant to District of New Jersey Local

 Bankruptcy Rule 9013-1(f), oral argument is requested.

                                             KELLY BEAUDIN STAPLETON
                                             UNITED STATES TRUSTEE
                                             REGION 3


                                             /s/ Donald F. MacMaster
                                             Donald F. MacMaster
                                             Trial Attorney



 DATED: Newark, New Jersey
        April 30, 2008
